Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 1 of 12 Page ID #:1
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 2 of 12 Page ID #:2
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 3 of 12 Page ID #:3
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 4 of 12 Page ID #:4
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 5 of 12 Page ID #:5
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 6 of 12 Page ID #:6
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 7 of 12 Page ID #:7
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 8 of 12 Page ID #:8
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 9 of 12 Page ID #:9
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 10 of 12 Page ID #:10
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 11 of 12 Page ID #:11
Case 2:15-cv-02480-ODW-E Document 1 Filed 04/03/15 Page 12 of 12 Page ID #:12
